                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI

    BILLIE RODRIGUEZ, et al.
          Plaintiffs,

    v.                                               Case No. 4:24-cv-00803-SRB

    EXXON MOBIL CORPORATION, et al.
         Defendants,

    and

    STATE OF KANSAS, ex rel. KRIS W.
    KOBACH, Attorney General

            Defendant-Intervenor.


PLAINTIFFS’ SUGGESTIONS IN OPPOSITION TO EXXON MOBIL CORPORATION,
CHEVRON U.S.A. INC., CHEVRON PHILLIPS CHEMICAL COMPANY LP, DUPONT
    DE NEMOURS, INC., DOW INC., THE DOW CHEMICAL COMPANY, AND
        AMERICAN CHEMISTRY COUNCIL’S MOTION FOR RECUSAL

          Defendants ask the Court to recuse itself from this case because (1) if the Court has personal

jurisdiction (which all Defendants seem to want to contest); (2) if the case survives motion to

dismiss; (3) if a municipality class is eventually certified; (4) if the City of Kansas City, Missouri

is within the municipality class definition; 1 (5) if the class certification is affirmed on appeal or

denied review under Rule 23(f); (5) if the City of Kansas City does not opt out of the certified class

and remains a putative class member; (6) if Your Honor’s spouse is still on the Council then; and

(7) if Your Honor’s spouse would somehow personally gain (or lose) something depending on the

outcome of the case, then and only then, there might be an appearance of impropriety. Defendants

already argue in other briefing that 1-4 will never happen, and presumably if they did, that 5 would

end the issue. No evidence is offered on 5-6, and not even a speculative argument made on 7.


1
 Remember, the State of Kansas claims that only the State AGs can represent municipalities. See
Doc. #81-1 at 12-13.


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       Your Honor’s spouse (hereafter, Councilmember Bough) is a member of a 13-person city

council that might someday become a class member—among hundreds of millions potential class

members—that could make up nationwide and state law classes. There is nothing in Defendants’

Motion for Recusal that suggests even a hint of questioning Your Honor’s impartiality or that

Councilmember Bough’s financial interests are implicated, or influenced at all, by the Court’s

rulings. Instead, Defendants (minus LyondellBasell Industries and Kansas AG) argue that

Councilmember Bough has a “direct interest” in the outcome of the case. Doc. #109 at 2-3. This

statement is false. She is not a named party. So any interest would be indirect at best. Here, she is

one of 13 Council Members for the City of Kansas City, Missouri, which also is not a party to this

case. No direct or even indirect financial interest is shown for the City of Kansas City, let alone

for Councilmember Bough. There is no need for recusal. The Court should deny the Motion.

                                      LEGAL STANDARD

       Under 28 U.S.C. § 455(a), “[a]ny justice, judge, or magistrate judge of the United States

shall disqualify himself in any proceeding in which his impartiality might reasonably be

questioned.” 28 U.S.C. § 455(a). Canons of judicial conduct include similar standards. See ABA

Rule 2.11(a) (“A judge shall disqualify himself or herself in any proceeding in which the judge’s

impartiality might reasonably be questioned [.]”); U.S. Courts Judicial Code of Conduct Canon

3(C)(1) (“A judge shall disqualify himself or herself in a proceeding in which the judge’s

impartiality might reasonably be questioned[.]”). An “objective standard of reasonableness”

determines whether recusal is required. Fletcher v. Conoco Pipe Line Co., 323 F.3d 661, 664 (8th

Cir. 2003). A judge should recuse if his or her “impartiality might reasonably be questioned by the

average person on the street who knows all the relevant facts of a case.” In re Kansas Pub. Emp.

Ret. Sys., 85 F.3d 1353, 1358 (8th Cir. 1996). “A party introducing a motion to recuse carries a

heavy burden of proof; a judge is presumed to be impartial and the party seeking disqualification


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bears the substantial burden of proving otherwise.” Pope v. Fed. Express Corp., 974 F.2d 982, 985

(8th Cir. 1992) (emphasis added). A motion to recuse “is not intended to give litigants a veto power

over sitting judges, or a vehicle for obtaining a judge of their choice.” White v. Nat’l Football

League, 585 F.3d 1129, 1138 (8th Cir. 2009) (citations and quotations omitted).

                                           ARGUMENT

       Recusal is not warranted under § 455(a). Despite the many cases cited by Defendants of

when this Court has recused itself from cases where the City of Kansas City was involved, there

is a key distinction: the City of Kansas City, Missouri was a named party in those cases. In such

cases, the City of Kansas City, through its Council by majority vote, must vote to sue or defend

the suit. That has not happened here, and will not even if it remains a putative class member. Here,

there are nine named class representatives; the City of Kansas City, Missouri isn’t one of them.

See Doc. #48 at ¶¶ 15-23 (listing named class representatives). Recusal based on the possibility

that the City of Kansas City could be a putative class member, but not even a named party is a

bridge too far. “While a judge must recuse [himself] if [his] ‘impartiality might reasonably be

questioned,’ (28 U.S.C. § 455(a)), [he] has an equal obligation not to recuse [himself] when

there is no reason to do so.” Ashford v. Douglas County, Case No. 8:20CV36, 2020 WL 6445834,

at *1 (D. Neb. November 3, 2020) (emphasis added) (quoting Sw. Bell Tel. Co. v. F.C.C., 153 F.3d

520, 523 (8th Cir. 1998)). “Were it otherwise, parties could easily engage in judge shopping and

deal a serious blow to the integrity of the court system.” Am. Dairy Queen Corp. v. Blume, No. 11-

358 (RHK/TNL), 2012 WL 1005015, at *1 (D. Minn. March 26, 2012) (quotation and citation

omitted). In light of all the facts, no reasonable person would conclude that the Court’s impartiality

might be questioned.

       Nor is Councilmember Bough a named party; in fact, she is explicitly excluded from the

proposed classes. Doc. #48 at ¶¶ 161-63. While she is a member of a 13-person city council, she


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is only one vote out of 13. One vote is clearly not enough to require the City of Kansas City,

Missouri to take any action. See, e.g., City of Kansas City Code of Ordinances, Article V., § 502

(requiring “seven votes” to “pass ordinances or adopt resolutions.”). Not only do Defendants

misstate Your Honor’s and his spouse’s interest in this case, but they also seem to ignore that there

is no interest for the non-party of the City of Kansas City, Missouri.

        And the Motion is—at the very least—premature. While the City of Kansas City, Missouri

could be a class member to the case at some point as part of a certified class, it is not yet. Plaintiffs

have not moved for class certification. Until Plaintiffs so move and such certification is granted,

non-party, putative class members are not parties to the case. Standard Fire Ins. Co. v. Knowles,

568 U.S. 588, 593 (2013); see also Smith v. Bayer Corp., 564 U.S. 299, 315 (2011) (“Neither a

proposed class action nor a rejected class action may bind nonparties.”). Indeed, this Court is not

bound by the class definitions set forth in a complaint and can act on its own accord for certification

should it determine the classes are too broad. E.g., Lang v. Kansas City Power & Light Co., 199

F.R.D. 640, 644 (W.D. Mo. 2001) (citing Robidoux v. Celani, 987 F.2d 931, 937 (2d Cir. 1993)

and 7B Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Civil Procedure,

§ 1790). After the claims survive Rule 12(b) scrutiny and after extensive written discovery and

depositions, Plaintiffs may elect to amend their class definition and could ultimately move to

certify a class that doesn’t include the City of Kansas City, Missouri. This is precisely why a

Judge’s impartiality is not implicated due to a relationship with a putative class member, because

“by definition, a putative class member is only a potential class member, rather than a party in

fact.” MDCM Holdings, Inc. v. Credit Suisse First Bos. Corp., 205 F. Supp. 2d 158, 161 (S.D.N.Y.

2002) Given that Defendants’ lone explanation for recusal is because Your Honor’s spouse is on

the city council for non-party City of Kansas City, Missouri, there is no need for recusal.




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       To emphasize that Defendants don’t come close to meeting their “heavy burden” for

recusal, consider the relevant question under § 455(a)—whether the judge is able to put aside his

personal relationships to objectively preside over the dispute. Liteky v. United States, 510 U.S.

540, 557–58 (1994) (Kennedy, J., concurring). The answer, when considering the facts, is a

resounding yes. Simply because the city Your Honor’s spouse happens to serve could be a class

member, at some point in time in which she will no longer be a City Councilmember does not put

Your Honor’s impartiality in question.2 The bridge that Defendants seek to build with their

arguments is too far attenuated to warrant recusal. 3 In fact, recusal is denied even in significantly

closer calls. See Garrett v. Ohio State Univ., 60 F.4th 359, 372 (6th Cir.), cert. denied sub nom.

The Ohio State Univ. v. Gonzales, 143 S. Ct. 2659 (2023) (affirming the District Court’s ruling

denying recusal under 455(a) or 455(b) when the Judge was employed by Defendant and Judge’s

wife owned a store that profited directly from Defendant, and finding the relationship “too de

minimis to raise reasonable questions concerning impartiality under § 455(a).”).

       Finally, this Motion is yet another stale attempt at forum-shopping. Defendant Exxon

Mobil Corporation has repeatedly tried to move this case to a different venue and has lost that

effort. See Docs. #3, 49 (denying as moot Exxon Mobil Corporation’s Motion to Transfer Venue

as Plaintiff voluntarily dismissed the District of Kansas lawsuit). 4 Just because Defendants are



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  Councilmember Bough’s term ends August 1, 2027 and she is term limited and may not run for
reelection. https://www.kcmo.gov/city-hall/city-officials/about-city-council.
3
  Defendants point to out of circuit caselaw to support recusal based on a financial interest in the
case when a member of the judge’s household is a member of putative class. Doc. #109 at 6 (citing
Tramonte v. Chrysler Corp., 136 F.3d 1025, 1030 (5th Cir. 1998)). Tramonte is easily
distinguished because neither the Court nor Councilmember Bough have a direct financial interest.
4
  The judge shopping by defendants started early in this case. Even before Exxon was served, it
moved to transfer venue and persisted even when there was no case to transfer venue to via a
Motion for Reconsideration. Then, Kansas AG asked for a change of venue, moved to intervene
as a defendant, and claims it alone could pursue claims on behalf of the cities and counties in



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unhappy with the judicial assignment and venue doesn’t mean they can forum or judge shop to

reach their desired judge. Little Rock Sch. Dist. v. Pulaski Cnty. Special Sch. Dist. No. 1, 839 F.2d

1296, 1302 (8th Cir. 1988) (“The recusal statute does not provide a vehicle for parties to shop

among judges.”). By even filing the Motion for Recusal, Defendants are improperly and

underhandedly trying to paint a shadow of doubt around this Court’s impartiality. In re Kansas

Pub. Emp. Ret. Sys., 85 F.3d 1353, 1358 (8th Cir. 1996) (“‘In deciding whether to recuse himself,

the trial judge must carefully weigh the policy of promoting public confidence in the judiciary

against the possibility that those questioning his impartiality might be seeking to avoid the adverse

consequences of him presiding over their case.’”) (quoting In re Drexel Burnham Lambert, Inc.,

861 F.2d 1307, 1312 (2d Cir. 1988)); see also In re Medtronic Sprint Fidelis Leads Prod. Liability

Litig., 601 F. Supp. 2d 1120, 1128 (D. Min. 2009) (‘[J]udges should not recuse themselves solely

because a party claims an appearance of partiality.”) (emphasis in original and citation omitted).

Should the situation arise where the Court is faced with an actual reason for recusal, the Court

should recuse itself. But this is not such a case.

                                          CONCLUSION

       The average person on the street would not assume because a member of the judiciary’s

spouse is part of a 13-person city council for a governmental entity that is not a party to the case

would have any interest in the litigation. Thus, the Court has no direct or indirect financial or other

interest in the outcome of this proceeding. Defendants have not met their high burden of

establishing a justification for disqualification and the Motion for Recusal should be denied.



Kansas. See generally Docs. #81 and 81-1 to 81-2. That intervention to change venue was denied
implicitly with the reconsideration denial. Doc. #92. Now, Exxon has filed a writ of mandamus to
the Eighth Circuit. The attack on the Court and now the Court’s spouse is desperate and offensive.
Trying to intimidate the Court with a writ of mandamus on a discretionary motion to transfer venue
is shameful.


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Dated: February 25, 2025.                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on February 25, 2025, I caused to be electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send a notice of electronic filing to

all counsel of record.


                                                      /s/ Rex A. Sharp
                                                      Rex A. Sharp




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